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                          IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

PAUL KWAKE, an individual, DANIEL
CAMPBELL, an individual, DOROTHY
HAWLEY, an individual, and
GARY ROMINE, an individual,

                Plaintiffs,                                 Case No. 6:18-cv-00603-JR

       v.                                                   OPINION AND ORDER

FARIBORZ PAKSERESHT, in his official
capacity as Director of Human Services,
State of Oregon; et al.

            Defendants.
_____________________________

MCSHANE, Judge:

       On April 27, 2018, Plaintiffs Mr. Kwake and Mr. Romine moved for a preliminary

injunction. ECF No. 15. On May 31, 2018, the Court issued an Opinion and Order denying the

motion. ECF No. 30.

       On May 21, 2018, before the court ruled on the motion, Plaintiffs filed an amended

motion for preliminary injunctive relief which is now before this court. ECF No. 28. Because the

amended motion for preliminary injunctive relief does not establish a likelihood of success on




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the merits or a likelihood that plaintiffs will suffer irreparable harm without immediate relief, the

Amended Motion for preliminary injunctive relief is DENIED.

       The amended motion does not change the substance of the argument made in the original

motion, but simply adds factual information regarding two new plaintiffs and deletes information

regarding Mr. Vindhurst, who is no longer a plaintiff in this case. See Am. Mot. Prelim. Inj. ¶¶ 1,

30, 33-34, 36, ECF No. 28. The Court incorporates its reasoning as laid out in its original

Opinion and Order (ECF No. 30).

       Plaintiffs’ amended motion for preliminary injunction (ECF No. 28) is DENIED.

IT IS SO ORDERED.

       DATED this 27th day of June, 2018.



                                            ____/s/Michael J. McShane_____
                                                  Michael J. McShane
                                              United States District Judge




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